                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

    TIMOTHY A. RODERICK, PERSONAL     )
    REPRESENTATIVE OF THE ESTATE      )
    OF IRIS N. EVANS,                 )
                                      )
       Plaintiff,                     )
                                      )    Civil Action No.
 v.                                   )
                                      )
 LIFE CARE CENTERS OF AMERICA,        )    Removed from the Circuit Court for
 INC. AND LIFE CARE CENTERS OF        )    McMinn County, Tennessee
 ATHENS,                              )    Case No. 21CV41
                                      )
       Defendants.                    )
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

        Life Care Centers of America, Inc., d/b/a Life Care Center of Athens (“Life Care”),1

submits this timely-filed Notice of Removal, reserving all defenses and objections to venue based

on 42 U.S.C. § 247d-6d(e)(1), pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, showing the Court

as follows:

                                 I.       STATEMENT OF THE CASE

        1.       Plaintiff commenced this action by filing a Complaint for Wrongful Death Caused

by COVID-19 (“Complaint”) on February 1, 2021, in the Circuit Court of McMinn County,

Tennessee, Case No. 21-CV-41 (the “State Court Action”). A true and correct copy of all

pleadings, process, and orders in Life Care’s possession, including the Summons and Complaint,

are attached as Exhibit A.




1
 Plaintiff improperly names “Life Care Centers of Athens” as a separate defendant. “Life Care Center of Athens” is
an assumed name of Life Care Centers of America, Inc.



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       2.     The Complaint asserts a cause of action for wrongful death under Tennessee Code

Annotated § 20-5-113, based on allegations related to Life Care’s administration and/or use of

facemasks and other personal protective equipment (“PPE”), as well as other measures taken to

prevent or mitigate the spread of COVID-19. (See generally Compl.)

              II.          PROCEDURAL REQUIREMENTS HAVE BEEN MET

       3.     Under 28 U.S.C. § 1446(b), this Notice of Removal must be filed within 30 days of

receiving the Complaint. Because Life Care received service of the Complaint through its

registered agent on February 8, 2021, this Notice of Removal is timely.

       4.     Concurrent with the filing of this Notice of Removal, Life Care has served this

Notice on Plaintiff and filed a copy of this Notice with the clerk of the Circuit Court of McMinn

County, Tennessee, pursuant to 28 U.S.C. § 1446(d).

       5.     The United States District Court for the Eastern District of Tennessee embraces

McMinn County, Tennessee, the county in which the State Court Action is now pending. Venue

is therefore proper for this Notice of Removal under 28 U.S.C. §§ 90(a)(2) and 1446(a).

                    III.    ARGUMENT AND CITATION TO AUTHORITY

       6.     This case is removable under 28 U.S.C. § 1441(a) on the basis of “original

jurisdiction” because the Complaint “arises under” federal law pursuant to 28 U.S.C. § 1331.

       7.     In particular, the Complaint presents a federal question arising under the Public

Readiness and Emergency Preparedness Act (“PREP Act”)—namely, Life Care’s immunity from

suit based on its administration and use of countermeasures authorized for use against COVID-19.

See 42 U.S.C. §§ 247d-6d, 247d-6e.




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A.     The PREP Act Completely Preempts State Law.

       8.      The PREP Act authorizes the Secretary of Health and Human Services (the

“Secretary”) to deem an event a “public health emergency” and issue a “declaration,”

recommending the “manufacture, testing, development, distribution, administration, or use of one

or more covered countermeasures” to combat the public health emergency. 42 U.S.C. §§ 247d(a)-

(b), 247d-6d(b).

       9.      Of particular relevance to this case, the Secretary determined that the COVID-19

pandemic was a “public health emergency” and issued the Declaration for Public Readiness and

Emergency Preparedness Act Coverage for Medical Countermeasures Against COVID-19 on

March 17, 2020 (the “COVID-19 Declaration”). 85 Fed. Reg. 15198-01.

       10.     Once such a declaration is made, the PREP Act affords “covered persons” sweeping

immunity from suit and liability “with respect to all claims for loss caused by, arising out of,

relating to, or resulting from the administration to or the use by an individual of a covered

countermeasure.” 42 U.S.C. § 247d-6d(a)(1).

       11.     The PREP Act further provides that the exclusive remedy for such claims of loss is

to seek compensation through the Covered Countermeasure Process Fund, an emergency fund

established in the Treasury upon the Secretary’s issuance of a declaration. 42 U.S.C. § 247d-6e.

       12.     The sole exception to complete immunity pertains to claims based on willful

misconduct, but even here the PREP Act provides “an exclusive Federal cause of action” and

requires that such claims be filed in the United States District Court for the District of Columbia,

for adjudication by a special three-judge panel. 42 U.S.C. § 247d-6d(d)-(e). Moreover, such claims

may be filed in the District Court only after the claimant has exhausted the remedies that are

available through the Covered Countermeasure Process Fund. 42 U.S.C. § 247d-6e(d)(1).



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       13.     The foregoing provisions of the PREP Act demonstrate Congress’s intent to

completely preempt state law with respect to claims that implicate PREP Act immunity and create

an exclusive federal remedy for such claims. This intent is bolstered by the PREP Act’s prohibition

against any state law or legal requirement that is “different from” or “in conflict with” any PREP

Act requirement related to immunity and the administration of a covered countermeasure. 42

U.S.C. § 247d-6d(b)(8)(A).

       14.     It is well settled that “complete preemption” creates federal question jurisdiction

and is an appropriate basis for removal of an otherwise state law claim. The United States Supreme

Court first recognized “complete preemption” as a basis for federal-question removal in Avco

Corp. v. Aero Lodge No. 735, Int’l Ass’n of Machinists & Aerospace Workers, 390 U.S. 557, 559

(1968) (recognizing the Labor Management Relations Act as a complete preemption statute). Since

that time, the Supreme Court has extended the doctrine to the Employee Retirement Income

Security Act (“ERISA”) and the National Bank Act. See Metro. Life Ins. Co. v. Taylor, 481 U.S.

58, 67 (1987); Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 7-11 (2003).

       15.     In Beneficial National Bank, the Court explained federal-question removal based

on complete preemption as follows:

               [A] state claim may be removed to federal court . . . when a federal statute
               wholly displaces the state-law cause of action through complete pre-
               emption. When the federal statute completely preempts the state-law cause
               of action, a claim which comes within the scope of that cause of action, even
               if pleaded in terms of state law, is in reality based on federal law . . .

               In the two categories of cases where this Court has found complete
               preemption . . . the federal statutes at issue provided the exclusive cause of
               action for the claim asserted and also set forth procedures and remedies
               governing that cause of action.

       Id. at 8 (emphasis added) (footnotes omitted) (citations omitted).




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        16.      In Beneficial National Bank, the plaintiff brought an action for usury under state

law, which was completely preempted by the usury provisions of the National Bank Act, 12 U.S.C.

§§ 85 and 86. The Court held that Sections 85 and 86 collectively “supersede both the substantive

and the remedial provisions of state usury laws and create a federal remedy for overcharges that is

exclusive.” Id. at 11. Therefore, the Court held that federal question jurisdiction existed under the

“complete preemption” doctrine. Id. at 5.

        17.      Federal circuit courts and district courts have since found “complete preemption”

in other contexts where a federal statute wholly displaces state law in favor of an exclusive federal

remedy for what is styled as a state-law claim. The Second Circuit held that the Air Transportation

Safety and System Stability Act (“ATSSSA”) is a complete preemption statute. In re WTC Disaster

Site, 414 F.3d 352, 380 (2d Cir. 2005). The Fifth Circuit has applied the doctrine in the context of

the federal Copyright Act. Spear Mktg., Inc. v. BancorpSouth Bank, 791 F.3d 586 (5th Cir. 2015).2

And a New York state appellate court has determined that the PREP Act is a complete preemption

statute in the context of litigation arising out of the H1N1 pandemic. Parker v. St. Lawrence Cty.

Pub. Health Dep’t, 102 A.D.3d 140, 143 – 45 (N.Y. App. Div. 2012) (dismissing state law

complaint for lack of jurisdiction).

        18.      The Department of Health and Human Services (“HHS”), which administers the

PREP Act, has expressly stated that the Act is a complete preemption statute, and the United States

Department of Justice agrees.

        19.      On January 8, 2021, the Secretary of HHS issued Advisory Opinion 21-01 on the

Public Readiness and Emergency Preparedness Act Scope of Preemption Provision (“AO 21-01”),

confirming unequivocally that “the PREP Act is a “complete preemption” statute. The Secretary


2
 But see Nott v. Aetna U.S. Healthcare, Inc., 303 F. Supp. 2d 565 (E.D. Pa. 2004) (declining to find complete
preemption based on the Medicare Act).

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explained, “The sine qua non of a statute that completely preempts is that it establishes either a

federal cause of action, administrative or judicial, as the only viable claim or vests exclusive

jurisdiction in a federal court. The PREP Act does both.” (AO 21-01 at 2.)3

        20.      AO 21-01 is not simply “advisory” but, rather, has the same “controlling weight”

as the COVID-19 Declaration and the PREP Act itself. In the Fourth Amendment to the COVID-

19 Declaration, the Secretary expressly stated, “This Declaration must be construed in accordance

with the Advisory Opinions of the Office of the General Counsel (Advisory Opinions). I

incorporate those Advisory Opinions as part of this Declaration. This Declaration is a

‘requirement’ under the PREP Act.” 85 Fed. Reg. 79190. Where Congress has expressly delegated

interpretive authority to an agency, that agency’s interpretive proclamations are controlling on

federal courts. Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843-44 (1984).

        21.      To avoid any doubt, the Secretary issued a Fifth Amendment to the COVID-19

Declaration on January 28, 2021, confirming the completely preemptive force of the PREP Act:

“The plain language of the PREP Act makes clear that there is complete preemption of state law.

. . . Furthermore, preemption of State law is justified to respond to the nation-wide public health

emergency . . . .” 86 Fed. Reg. 7872.

        22.      The United States Department of Justice (“DOJ”) also has taken the position that

the PREP Act is a complete preemption statute. In Bolton v. Gallatin Center for Rehab. & Healing,

LLC, No. 3:20-cv-00683 (M.D. Tenn. filed Aug. 7, 2020), the DOJ filed a Statement of Interest of

the United States (“SOI”), which reflects the official position of the United States with respect to




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  AO 21-01 is available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/2101081078-
jo-advisory-opinion-prep-act-complete-preemption-01-08-2021-final-hhs-web.pdf (last visitied Mar. 1, 2021).

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the preemptive effect of the PREP Act. (See Dkt. [35], filed Jan. 19, 2021). The SOI provides,

inter alia, that:


                   “[T]he PREP Act completely preempts claims related to the administration or use
                    of covered countermeasures with respect to a public health emergency, as declared
                    by the Secretary. Therefore, cases that include such claims necessarily include
                    federal questions and, therefore, are removable.” (Dkt. [35] at 1 of 15.)

                   “The PREP Act is just such a complete preemption statute . . . . Two key provisions
                    of the PREP Act operate together to demonstrate its completely preemptive nature:
                    the immunity provision and the exclusive alternative remedy provision.” (Id. at 7
                    of 15.)

                   “[R]eading these PREP Act provisions as completely preemptive accords with the
                    reasons Congress enacted the law. An effective response to national health
                    emergencies depends on the prompt and willing cooperation of private partners.
                    Thus, the Act broadly immunizes covered persons from claims relating to their
                    administration of specified countermeasures, while specifying exclusive alternative
                    remedies for certain claims.” (Id. at 9 of 15.)

The United States government concluded,

                    “[T]hese PREP Act provisions supersede both the substantive and
                    the remedial provisions of state tort laws and create a federal remedy
                    for certain claims of loss relating to covered countermeasures that is
                    exclusive, even when a state complainant . . . relies entirely on state
                    law. Because they provide the exclusive cause of action for such
                    claims, there is, in short, no such thing as a state law claim of loss
                    against a covered person in connection with their use or
                    administration of a covered countermeasure.”

(Id. at 12 of 15 (citing Beneficial Nat’l Bank, 539 U.S. at 11 (internal quotation marks omitted and

emphasis added)).)

        23.         The DOJ’s SOI is of “considerable interest” to the courts considering complete

preemption under the PREP Act. See Republic of Austria v. Altmann, 541 U.S. 677, 701 (2004)

(finding State Department’s position as amicus curiae on statutory construction and federal

jurisdiction of “considerable interest”).




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         24.      In sum, the PREP Act is a complete preemption statute, giving rise to federal

question jurisdiction over claims that implicate the immunity provision of the Act.

B.       The Complaint Implicates the PREP Act and this Court’s Original Jurisdiction.

         25.      As stated above, the PREP Act affords “covered persons” complete immunity from

suit and liability “with respect to all claims for loss caused by, arising out of, relating to, or

resulting from the administration to or the use by an individual of a covered countermeasure.” 42

U.S.C. § 247d-6d(a)(1). The Complaint implicates this immunity provision and, for the reasons

explained in Part A above, permits removal to this Court based on federal-question jurisdiction.

         26.      Life Care is a “covered person” as defined by the Act. In particular, Life Care is

both a “qualified person” and “program planner” with respect to the administration or use of a

covered countermeasure, as explained below. 42 U.S.C. § 247d-6d(i)(2)(B).

         27.      “Qualified person” is defined as a “licensed health professional or other individual

who is authorized to prescribe, administer, or dispense such countermeasures under the law of the

State in which the countermeasures were prescribed, administered, or dispensed.” 42 U.S.C. §

247d-6d(i)(8).

         28.      “Program planner” is defined as “a State or local government, including . . . a

person4 employed by the State or local government, or other person who supervised or

administered a program with respect to the administration, dispensing, distribution, provision, or

use of a security countermeasure or a qualified pandemic or epidemic product, including a person

who has established requirements, provided policy guidance, or supplied technical or scientific




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 “Person” is defined to include “an individual, partnership, corporation, association, entity, or public or private
corporation.” 42 U.S.C. § 247d-6d(i)(5).


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advice or assistance or provides a facility to administer or use a covered countermeasure in

accordance with a declaration under subsection (b).” 42 U.S.C. § 247d-6d(i)(6).

       29.    Life Care is a “qualified person” because it is a skilled nursing facility, licensed by

the Tennessee Department of Health, and it employs a number of Licensed Registered Nurses and

Licensed Practical Nurses, who are authorized to administer covered countermeasures. See 42

U.S.C. § 247d-6d(i)(8).

       30.    Moreover, at all relevant times, Life Care was acting as a “program planner,”

administering and supervising covered countermeasures to treat and prevent the spread of COVID-

19. 42 U.S.C. § 247d-6d(i)(6). The Office of the Secretary has confirmed that senior living

communities are “program planners” and thus “covered persons” under the PREP Act. (Aug. 14,

2020 Ltr. from HHS General Counsel Robert P. Charrow to Thomas Barker, attached hereto as

Exhibit B.)

       31.    “Covered countermeasure” is defined as follows:

              Covered countermeasures are any antiviral, any other drug, any
              biologic, any diagnostic, and other device, or any vaccine used to
              treat, diagnose, cure, prevent, or mitigate COVID-19, or the
              transmission of SARS-CoV-2 or a virus mutating therefrom, or any
              device used in the administration of any such product, and all
              components and constituent materials of any such product.

              Covered countermeasures must be “qualified pandemic or epidemic
              products,” or “security countermeasures,” or drugs, biological
              products, or devices authorized for investigational or emergency
              use, as those terms are defined in the PREP Act, the FD&C Act, and
              the Public Health Service Act, or any respiratory protective device
              approved by NIOSH under 42 CFR part 84, or any successor
              regulations.

85 Fed. Reg. 15198 (quoting 42 U.S.C. § 247d-6b(c)(1) & 42 U.S.C. § 247d-6d(i)(1)).




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        32.     Personal protective equipment (“PPE”), including but not limited to facemasks, is

 a “covered countermeasure” against COVID-19. 42 U.S.C. § 247d-6d(i)(1); 42 U.S.C. § 247d-

 6b(c)(1); see also AO 21-01 (PPE a covered countermeasure against COVID-19).

        33.     For example, a facemask used to prevent or mitigate the spread of COVID-19 is a

 “qualified pandemic or epidemic products,” as defined by 42 U.S.C. § 247d-6d(i)(7); a “device”

 used, designed, and developed to mitigate or prevent the spread of COVID-19; and a device

 authorized for emergency use in accordance with the Federal Food, Drug, and Cosmetic Act, 21

 U.S.C. §§ 360bbb-3, 360bbb-3a, 360bbb-3b.

        34.     At all times relevant to the Complaint (and continuing to the present), Life Care

 and its personnel administered or implemented covered countermeasures to control the spread of

 COVID-19 in its facilities, including Life Care Center of Athens. For example, Life Care

 administered face masks and other PPE to its personnel and staff and directed that all persons wear

 such PPE while in the facility.

        35.     Life Care implemented these covered countermeasures consistent with the COVID-

 19 Declaration, guidance from the HHS Secretary, and guidance issued by HHS’s Centers for

 Medicare & Medicaid Services (“CMS”).

        36.     For example, on March 4, 2020, CMS issued guidance on the screening of entrants

 into nursing homes. Guidance for Infection Control and Prevention of Coronavirus Disease 2019

 (COVID-19) in Nursing Homes (March 4, 2020), attached hereto as Exhibit C. Pursuant to CMS’

 recommendations, Life Care implemented screening of visitors who (1) traveled internationally

 within the last 14 days, (2) exhibited signs or symptoms of a respiratory infection, such as fever,

 cough, or sore throat, or (3) had contact with someone actually or potentially infected with

 COVID-19. Id. Access to Life Care was restricted if a visitor fell into any of these categories. Id.



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         37.      On March 10, 2020, CMS provided further guidance related to the use of

 facemasks when industrial respirators were unavailable. This guidance was issued as part of

 CMS’ efforts to “continue to explore flexibilities and innovative approaches within [its]

 regulations to allow health care entities to meet the critical health needs of the country.”

 Guidance for Use of Certain Industrial Respirators by Health Care Personnel (March 10,

 2020).5 In the March 10 memorandum, CMS addressed the supply, allocation, and use of PPE

 used to prevent the spread of COVID-19, including eye protection, medical gowns, gloves, and

 airborne infection isolation rooms, in addition to facemasks and respirators.

         38.      On April 2, 2020, CMS issued new guidelines for the prevention of the spread of

 COVID-19, directed specifically at long-term care facilities. COVID-19 Long-Term Care Facility

 Guidance (April 2, 2020).6 In doing so, CMS noted that “[l]ong-term care facilities are a critical

 component of America’s healthcare system.” CMS further noted that the Centers for Disease

 Control and Prevention (“CDC”) and CMS were providing “critical, needed leadership for the

 Nation’s long-term care facilities to prevent further spread of COVID-19,” and that long-term care

 facilities were to immediately implement symptom screening for all persons seeking to enter a

 long-term care facility—i.e., residents, staff, visitors, outside healthcare workers, vendors, etc.

 Facilities were ordered to specifically ask about COVID-19 symptoms and to check the

 temperature of all visitors, as well as limit access points and ensure that all accessible entrances

 have a screening station.




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  This report is available at https://www.cms.gov/files/document/qso-20-17-all.pdf (last visited Mar. 2, 2021).
 6
  Available at http://www.cms.gov/files/document/2440-covid-19-long-term-care-facility-guidance.pdf (last visited
 Mar. 2, 2021).

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            39.   Plaintiff seeks damages against Life Care for the alleged wrongful death of Ms. Iris

 Evans, based on the allegations that Life Care failed to properly administer the foregoing covered

 countermeasures. (See generally Compl.)

            40.   In particular, Plaintiff alleges that Life Care acknowledge the demand for additional

 facemasks and PPE and called on persons to donate any extra, unused, and unopened PPE. (Compl.

 at ¶ 6.)

            41.   Plaintiff alleges that despite Life Care’s awareness of the demand for PPE, Life

 Care failed to provide facemasks and other PPE to all persons within its facility at all times, such

 that unmasked persons were permitted to come into contact with residents, such as Ms. Evans. (Id.

 at ¶¶ 6-9.)

            42.   Plaintiff further alleges that Life Care failed to have adequate infection control

 policies and procedures, failed to always socially distance, and failed to limit visitors to the facility.

 (Id. at 8-10.)

            43.   Plaintiff contends that due to Life Care’s alleged failure to ensure constant mask

 wearing and the other alleged failures described above, Ms. Evans contract COVID-19 and died.

 (See generally Compl.)

            44.   Plaintiff’s claim for wrongful death plainly “arises out of, relates to, and results

 from” Life Care’s administration or use of covered countermeasures, including but not limited to

 its use and non-use of facemasks and other PPE. See also Garcia v. Welltower OpCo Grp., LLC,

 2021 WL 492581, at *8 (C.D. Cal. Feb. 10, 2021) (finding claims related to use and misuse of PPE

 and infection control measures such as symptom checking and limiting visitation “directly relate

 to covered countermeasures within the meaning of the PREP Act”); but see, e.g., Dupervil v.

 Alliance Health Ops., LLC, 2021 WL 355137 (E.D.N.Y. Feb. 2, 2021).



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         45.     The Complaint, therefore, implicates the PREP Act and is removable on the basis

 of federal question jurisdiction. 28 U.S.C.A. § 1441(a).

         46.     A copy of this Notice of Removal is being filed with the Clerk of the McMinn

 County Circuit Court.

         47.     A Civil Cover Sheet for this matter is attached as Exhibit D.

         48.     Life Care demands that any trial of this matter in federal court be heard by a full

 jury.

         THEREFORE, having shown that this case is properly removable, Defendants provide

 notice pursuant to 28 U.S.C.A. § 1446 that the State Court Action is removed to the United States

 District Court for the Eastern District of Tennessee and respectfully request that this Court exercise

 jurisdiction over this case.

                                                Respectfully submitted,

                                                MILLER & MARTIN PLLC

                                                By: s/Roger W. Dickson
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                                                Counsel for Life Care Centers of America, Inc.




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                                  CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing was filed electronically with the Clerk’s office
 by using the CM/ECF system and served electronically and/or via first-class U.S. mail, postage
 prepaid, upon all counsel as indicated below. Parties may also access this filing through the
 Court’s ECF system.

                                       C. Mark Warren
                                       Warren & Griffin, P.C.
                                       Suite 100, Dome Building
                                       736 Georgia Avenue
                                       Chattanooga, TN 37402

        This 9th day of March, 2021.


                                               By: s/Roger W. Dickson




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